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&M CAmMPOLo, MIDDLETON & MCCORMICK, LLP

CLOSING STATEMENT

SALE OF

COMMON STOCK

OF

BLUE DIAMOND SHEET METAL, INC.,
DIAM-N-BLU MECHANICAL CORP.,
AND
MIRAGE MECHANICAL SYSTEMS, INC.

CLOSING DATE

AS OF DECEMBER 22, 2020

Westbury | Ronkonkoma | Riverhead
(631} 738-9100 | www.cmmilp.com

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SALE OF THE COMMON STOCK OF BLUE DIAMOND SHEET METAL, INC., DIAM-N-

BLU MECHANICAL CORP., AND MIRAGE MECHANICAL SYSTEMS, INC,

Parties:

[3542-001/3425298)

Sellers:

Douglas Belz

22 S, Gillette Avenue
Bayport, NY 11705

Email: rbelz@dnbmechanical.com

Stephen DiMeglio

755 Harbor Lane

Cutchogue, NY 11935

Email: sdimeglio(@dnbmechanical.com

James Dvorak

179 Oakwood Avenue

Bayport, NY 11705

Email: idvorak@dnbmechanical.com

Purchasers:

Meghan LaBella

79 Handsome Avenue

Sayville, NY 11782

Email: mlabella@bdssheetmetal.com

Al LaBella

79 Handsome Avenue

Sayville, NY 11782

Email: albella@bdssheetmetal.com

Counsel for Sellers:

Ruskin Moscou Faltischek, P.C.
East Tower, 15th Floor

1425 RXR Plaza

Uniondale, NY 11556-1425
Attention: Adam P. Silvers, Esq.
Facsimile: (516) 663-6719
Email: asilvers@rmfpc.com

Counsel for Purchasers:

Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway
Ronkonkoma, NY 11779

Attention: Joseph N. Campolo, Esq.
Facsimile: (631) 738-0659

Email: jcampolo@cmmllp.com

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Closing Date: December 22, 2020

Purchase Price: $4,448 ,250.00

Payment: $1,482,750.00 to Douglas Belz
$1,482,750.00 to Stephen DiMeglio
$1,482,756.00 to James Dvorak

Signature page to follow

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&M CAMPOLO, MIDDLETON & MCCORMICK, LLP

Agreed to and
accepted by: PURCHASERS:

a a
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Al LaBella Z
SELLERS:

Douglas Belz

Stephen DiMeglio

James Dvorak
COMPANIES: BLUE DIA INC.

By:___.
Name: Al LaBella
Title: Vice President

By:
Name: Al LaBella
Title: Vice President

MIRAGE ME
By

Name: Al LaBella
Title: Vice President

Signature page to Closing Statement of Sale of Common Stock

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&M CAMPOLO, MIDDLETON & MCCORMICK, LL

Agreed to and :
accepted by: PURCHASERS:

Meghan LaBella

Al Laelia,

SELLERS:

Douglas Belz

Btetihen DiMeglio

Jarnes Dvorak

COMPANIES: BLUE DIAMOND SHEET METAL, INC.

By:
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP,

By: .
Name: Al LaBella
Title: Vioe President

MIRAGE MECHANICAL SYSTEMS, INC,

By: we:
Name! Al LaBella
Tie: Vice President

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&M| CAMPOLO, MIDDLETON & MCCORMICK, LLP

Agreed to and
accepted by: PURCHASERS:

Meghan LaBella

Al Labtotis
SELLERS: since

Douglas Belz ( ct

Stephen, Divleplio

C \ James Dvorak

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COMPANIES: BLUE DIAMOND SHEET METAL, INC.

By:
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP,

By: .
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name; Al LaBella
Title: Vice President

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